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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

STANLEY T. BRAZIL, JR.,

               Petitioner,                                    Case No. 07-20531
                                                              Honorable Thomas L. Ludington
v.

UNITED STATES OF AMERICA,

               Respondent.
                                      /

           ORDER STRIKING MOTION AND BARRING FURTHER FILINGS

       On October 1, 2013, the Court set an evidentiary hearing on two issues related to Stanley

Brazil’s motion to vacate his sentence under 28 U.S.C. § 2255. See Oct. 1, 2013 Op. & Order,

ECF No. 333. As a part of that opinion, the Court admonished Brazil for filing pro se motions

while he is represented by retained counsel. See id. at 3–4. Nevertheless, in the interests of

justice, the Court considered the pro se claims Brazil raised on their merits.

       It seems that Brazil believes this was an indication he may continue to file pro se motions

while he is aptly represented by counsel. Despite the fact that his counsel filed a supplemental

brief (pursuant to this Court’s direction) on October 25, 2013, on the same day Brazil filed a pro

se motion concerning other issues on which the Court denied relief. See Pet’r’s Mot., ECF No.

336.

       To be clear, Brazil may not file pro se papers while he is represented. The Sixth Circuit

has established that it is not appropriate to address pro se arguments raised by an individual who

is also represented by counsel. United States v. Williams, 641 F.3d 758, 770 (6th Cir. 2011); see

also United States v. Martinez, 588 F.3d 301, 328 (6th Cir. 2009) (“Martinez raises a number of

additional pro se claims, but we decline to address them because he is represented by counsel.”);
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United States v. Howton, 260 F. App’x 813, 819 (6th Cir. 2008) (“Howton raises a number of

arguments in his pro se brief. We decline to address these arguments because Howton was

represented by counsel in this matter.”). As noted in Moore v. Haviland, 531 F.3d 393, 401–02

(6th Cir. 2008), the right to counsel and the right to self-representation “are mutually exclusive,

and invocation of one is necessarily intertwined with waiver of the other.”              Such “hybrid

representation” has the effect of complicating and prolonging legal proceedings to the “detriment

. . . of the judicial system because there is a queue waiting for attention.” United States v. Oreye,

263 F.3d 669, 673 (7th Cir. 2001).

       If Brazil wishes to file his own papers, he must discharge counsel, forfeit the arguments

and papers counsel has filed on his behalf, and truly go it alone. Otherwise, he will be foreclosed

from filing any additional papers. Moreover, the pro se motion he has filed will be stricken.

       Accordingly, it is ORDERED that Brazil’s pro se motion, ECF No. 336, is STRICKEN.

       It is further ORDERED that Brazil is FORECLOSED from filing any additional pro se

papers while he is represented by retained counsel.

Dated: October 30, 2013                                           s/Thomas L. Ludington
                                                                  THOMAS L. LUDINGTON
                                                                  United States District Judge


                                         PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing
                         order was served upon each attorney of record herein by
                         electronic means and upon Stanley Thomas Brazil, Jr.
                         #41864039 at Beaumont U.S. Penitentiary, Inmate
                         Mail/Parcels, P. O. Box 26030, Beaumont, TX 77720 by
                         first class U.S. mail on October 30, 2013.
                                                     s/Tracy A. Jacobs
                                                     TRACY A. JACOBS




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